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EXHIBIT 19
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Mai To: Ma Nationwide Life Insurance Company

CI Ratonwide Life and Annuity inaurance Company MEDICAL EXAMINATION
2 Life Underwriting 6 COLUBOL!, 1-11-08 0 Geoup {Pant 2 of an application to
P.O, Box 162835 One Natlonwide Piaza PO. Box oe sown Nationwide Insurance
Columbus, OM 43218-2835 | Cotumbua, OH 43215-2220 | Dubén, ON 4 or Heath Insurance
seeLFS for if or }

— Nane Pagosa gs se pr \. SS Social Security Date of Bxth

Physicians: include Sseethe ia eed {i man than two physicians, indicete so under “dstads” }
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he inriendtehat oO af page 2 additional apace ls needed.)

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c. Heart cathelarizaiion, abnormal elactocanilogram, of other cardiac test, coronary bypsss ¥
susgery, or angioplasty? oO
2. Aneurysm, carotid artery clesase, deep venous thromboats, phlebiée, peripheral vascular /
disease, ary other disorder of tha blood vessels, or pubmionary SmbORSN? —u....nsnssnesssereeemes Qo of
3a, Dishales or abnormal blood sugar? o i:
-b. Thyroid, adrenal, patathyrold, puttary, o7 other glandular dS 0GO02 1.1 maomnreoseonesseneeonree -
4a.
b.

Caner, leukemia, lymphoma or any matignant or benign lumor, cyst, or polyps? ........
. Any abnormal scresning fests for cancer induding PSA (prostate specific anfigen),
mammogram, oc PAP smears? 0 xf
§. AIDS (Acquired immune Deficloncy Syndrome), or received positive results of an HIV (Humen
Immunodelidiency Virus) last using the ELISA-ELISA-Westem Bical Testing Sequence?........ 1 xX
6, (Disorder of the blood Including anemia, sickle coll disorders, thalassenile, hemophila, or any
other disorder of Ihe red blood cals, plaiaiels, or clotting factora?.
7. Stroke, TIA, paralysis, epdepsy, seizures, fainting, bemor, Parkinson's disease, menial
retardation, carebral palsy, muttiple sclerosis, Aizheimar's diseasa, ALS (Lou Gehrig's
diseasa), oF any other symploms of disorders Of tha nerves OF OIBINT...cessecrssessssecenetcr seems
8a. Asthma, emphysema (COPD), tuberculosis, of chronic bronchitie? mess
b. Persisiont hoarseness or cough, an abnormal chse! X-ray or other tung dlagasa or dowd?
8a. Vicar, intestinal bleeding, wcerstive colts, Crohn's disease, diverficults, hernia, or any other
disorder of the esophagus, stomach, or ininsines7.
b. Jaundice, cerhosie, hepalitls, or any disease of the fver, pancreas or gal DRAGON? ...snose-:
+03. Sugar, proiein, or blood in tha urine, kidney siona, glomendonepheias, or halory of

nephrectomy?. .
b. Other disorders of the Kidnay, bladder, urotes, urathra, or any part of tw urinary system? ........
1a. Reproductive system including uletine fibroids, endomeviceis, or ovarian cysViumor? .._.........
b. Prostaia andargament, prostate cancer, testiquas mass, of sully bansmitied diseases? ...._
c. Other dscrder of the reproductive organs or breasts’?
-12.  Olaorder of the muscles, joints, bones, tendons, igamants, so feeues, spine or back inducing
astwitle, fracture, chronic pain, or hemiated disc, chronic fafigue syndrome, or fibromyaigia?....
13. Disease of yes, oars, nosa, or threat?
14a. Psychological or psychlabic dlsardere Induding depression, bipoler disorder, obsessive
compulsive disorder, schizophrenia, attenSon deficit disordsts, aflective disorders, seting
disorder, or any othes mental or behavioral disordar or disease?
b. Alcohotam, drug dependency or addiction?
15. Any other mental or physical diseasa or disorder not Ssted above?

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Nationwide Life Insurance Company MEDICAL EXAMINATION
Natlon wide Life and Ansuly Insurance Company [Pest 2 (continued) ofan application te Nationwide inserance for Life or Health insurance)
Have you in the past 10 years: Yes Wo

16a. Been patient (incuding oulpatient) in a hospital, cinkc, mental heatth faciity, or other
medical tacky?

b. Consulted or bean referred to any physicizn not fsted above? “ of

¢. Been advised to hava surpesy, hesplteizellon, testing, or treatment that waa not compigind?.. 0 a
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17a, Used tobacco? (if yes, spectly dates and fnim of tobacco used.)
b. Used aloohote beverages? (if yes, how much, what kind (buer, wine, Aquor), how often?)......
c Used any agal, restricted, or controled substance except as prascrthed by a physician? ityes,

provide dotaks ) oO
18, Requested or received a pension, banetits, or payment because of injury, sickness or deabaly?....... C1
ADDITIONAL SPACE FOR DETAILS OF YES ANSWERS. (Idanily quastion number.)

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Mother ([ } N YN

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